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 1    CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
                   Attorneys at Law
 2         1400 E. Southern Ave., Suite 400
              Tempe, Arizona 85282-5691
 3     (480) 427-2800, Facsimile (480) 427-2801
        minuteentries@carpenterhazlewood.com
 4    Michelle.Wellnitz@carpenterhazlewood.com
             Michelle B. Wellnitz – 326065
 5                   IQDATA.53
                Attorneys for Defendant
 6
 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9                                  WESTERN DIVISION
10
     KAYLA M. WOOD,                                   Case No. 2:21-cv-08601-JFW-JC
11
12                 Plaintiff,                       DEFENDANT’S RESPONSE IN
13
                                                    OPPOSITION OF PLAINTIFF’S
     vs.                                            MOTION FOR EXTENSION OF
14                                                  TIME TO RESPOND TO
15   I.Q. DATA INTERNATIONAL,                       DEFENDANT’S MOTION TO
     INC.,                                          DISMISS AND TO CONTINUE
16                                                  HEARING
17                Defendant.
                                                    HEARING DATE:      February 28, 2022
18                                                  HEARING TIME:      1:30 p.m.
                                                    JUDGE:             Hon. John F. Walter
19
                                                    COURTROOM:         7A
20
21
22
            Pursuant to L.R. 7-9, Defendant, I.Q. Data International, Inc. (“Defendant”),

23    though undersigned counsel, hereby submits its Response in Opposition of Plaintiff’s

24    Motion for Extension of Time to Respond to Defendant’s Motion to Dismiss and

25    Continue Hearing (“Motion for Extension”). Defendant filed its Motion to Dismiss

26    Plaintiff’s Complaint with this honorable Court on January 4, 2022 (“Motion to

27    Dismiss”). The hearing date for the Motion to Dismiss is currently noticed and set to
28    be heard by this Court for February 7, 2022 at 1:30 p.m. For the reasons that follow
                                                1   Response In Opposition of Plaintiff’s Motion
                                                              For Extension of Time to Respond
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 1    below, Defendant objects to Plaintiff’s Motion for Extension and hereby respectfully
 2    requests that this Court deny the Motion for Extension.
 3
      I.     ARGUMENT
 4
             A.      The Motion for Extension Fails to State Concrete Reasons
 5
                     Supporting Good Cause for Granting the Extension or
 6                   Continuance.
 7           This Court’s Standing Order requires any application to extend the time to file
 8    any required document or to continue any date to set forth specific, concrete reasons
 9    supporting good cause for granting the extension. Standing Order (Doc. No. 17)
10    Paragraph 7(c). In her Motion for Extension, Plaintiff’s reason for requesting a
11    fourteen (14) day extension to respond to Defendant’s Motion to Dismiss is “to allow
12    time under local rule 7.3 to meet and confer with Defense counsel in relation to
13    Plaintiff’s Motion to Amend Complaint.” See Plaintiff’s Motion for Extension of
14    Time to Response (Doc. No. 27) ¶ 9.
15
             This argument is circular. Plaintiff requests additional time to respond to
16
      Defendant’s Motion to Dismiss because she wishes to amend her Complaint, yet had
17
      she amended after the Parties’ L.R. 7-3 conference on December 8, 2021, Defendant’s
18
      Motion to Dismiss would not have been necessary. See Joint Statement Regarding
19
      Local Rule 7-3 Conference (Doc. No. 22). Instead, Plaintiff was unreachable such
20
      that Plaintiff’s counsel told Defendant to proceed with the Motion to Dismiss. See
21
      Plaintiff’s Response to the Court’s Order to Show Cause Re: Sanctions (Doc. No. 24)
22
      ¶¶ 9-11; Joint Statement Regarding Local Rule 7-3 Conference (Doc. No. 22).
23
      Accordingly, Defendant incurred attorney’s fees to prepare and file the Motion to
24
      Dismiss within the deadlines set by the Court and in compliance with all standing and
25
      local rules.
26
27           Moreover, the Motion to Dismiss, its supporting case law, its legal theories, and
28    its accompanying deadlines were not a surprise to Plaintiff.           At the L.R. 7-3
                                                  2   Response In Opposition of Plaintiff’s Motion
                                                                For Extension of Time to Respond
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 1    conference, Defendant disclosed to Plaintiff the claims on which it expected to seek
 2    dismissal and the general bases for the motion in light of recent case law supporting
 3    dismissal of the same. See Joint Statement Regarding Local Rule 7-3 Conference
 4    (Doc. No. 22). Yet, on December 30, 2021, three (3) weeks after the L.R. 7-3
 5    conference, due to Plaintiff’s non-participation in her own case, Plaintiff’s counsel
 6    told Defendant to file the Motion to Dismiss. Plaintiff cannot now disregard the
 7    presence of the Motion to Dismiss simply because she now, possibly, wants to amend
 8    the Complaint. Good cause to grant an extension does not exist when Plaintiff’s
 9    Motion for Extension is based solely on her continued concept of amending the
10    Complaint rather than concrete reasons necessitating additional time to address the
11    Motion to Dismiss that is before the Court for ruling.
12
            Plaintiff’s counsel knew or should have known that the deadline to respond to
13
      the Motion to Dismiss was January 18, 2022 – fourteen (14) days after the Motion to
14
      Dismiss was filed.1 The rules inform the Parties of these deadlines and Defendant is
15
      working hard to abide by them as evidenced by its own filing. Nevertheless,
16
      Plaintiff’s Motion for Extension again forces Defendant to incur more attorney’s fees
17
      working through her disregard for procedure; a conversation that has no reason to take
18
      place because the local rules and standing rules inform this conversation.
19
20          It is improper for Plaintiff to delay a ruling on the Motion to Dismiss simply

21    because she is contemplating an amendment. If Plaintiff wishes to bring such a
22    motion to amend to this Court then so be it, but doing so should not negate the
23    deadlines surrounding Defendant’s properly submitted, noticed Motion to Dismiss.
24    Plaintiff’s failure to abide by the rules will prejudice Defendant if this Court grants
25    Plaintiff an extension to respond and continues the Motion to Dismiss hearing date.
26
      1
27      Defendant notes that prior to January 17, 2022, Plaintiff never reached out to
      Defendant regarding a contemplated motion to amend the Complaint or request for
28    extension of time to respond to the Motion to Dismiss.
                                                 3   Response In Opposition of Plaintiff’s Motion
                                                               For Extension of Time to Respond
                                                                Case No. 2:21-cv-08601-JFW-JC
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 1    Prior to filing the Motion to Dismiss and during the L.R. 7-3 conference related
 2    thereto, the issue was whether Plaintiff would amend or dismiss her Complaint to
 3    address the deficiencies noted in the subject motion. Those issues remain before this
 4    Court and such Motion to Dismiss should run its course. It is improper for Plaintiff
 5    to use her response to the Motion to Dismiss as a means of arguing a potential
 6    amendment to the Complaint and, therefore, no just reason has been provided by
 7    Plaintiff for her delay.
 8
             B.     Neither the Motion for Extension Nor Plaintiff’s Proposed
 9                  Amended Complaint Moot Defendant’s Motion to Dismiss.
10           Defendant is puzzled by Plaintiff’s contention that its “eventual amendment”
11    will moot the Motion to Dismiss. See Motion for Extension (Doc. No. 26) ¶¶ 7, 11.
12    Namely, Plaintiff’s counsel previously maintained that “Defendant’s Motion presents
13    purely legal issues. In other words, it is not based on factual deficiencies that can be
14    cured through an amendment.” See Plaintiff’s Response to the Court’s Order to Show
15    Cause Re: Sanctions (Doc. No. 24) ¶ 8. Plaintiff also contends that “her amended
16    complaint [] will address the Motion to Dismiss by removing the claim surrounding
17    the Motion to Dismiss.” See Motion for Extension (Doc. No. 26) ¶ 7.
18
             However, this is not the case. The Motion to Dismiss is based on two claims,
19
      not simply one: (1) The Complaint must be dismissed for lack of subject matter
20
      jurisdiction because Plaintiff lacks Article III standing to sue; and (2) The Complaint
21
      must be dismissed for failure to state a claim under the California Rosenthal Act. See
22
      Motion to Dismiss (Doc. No. 21-1). Plaintiff’s oversimplification of the contents of
23
      the Motion to Dismiss does not create concrete reason supporting an extension.
24
             C.     The Court Should Decline to Consider the Motion For Extension
25
                    Because It Does Not Meet the Requirements of L.R. 7-3.
26
             Pursuant to L.R. 7-4, “[t]he Court may decline to consider a motion unless it
27
      meets the requirements of L.R. 7-3 through 7-8.” In her Motion for Extension,
28
                                                  4   Response In Opposition of Plaintiff’s Motion
                                                                For Extension of Time to Respond
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 1    Plaintiff maintains: “Pursuant to Local Rule 7.3, Plaintiff’s counsel has conferred with
 2    Defendant’s counsel.” See Plaintiff’s Motion for Extension of Time to Response
 3    (Doc. No. 27) ¶ 15.
 4          Defendant acknowledges that Plaintiff’s counsel emailed Defendant’s counsel
 5    on January 18, 2022 inquiring into whether Defendant had any objection to an
 6    extension of time to respond to the Motion to Dismiss for ten (10) days. See January
 7    18, 2022 Email Exchange attached hereto as Exhibit 1.              Defendant’s counsel
 8    responded on January 18, 2022 informing Plaintiff’s counsel that it must object to the
 9    requested extension as it would conflict with Defendant’s compliance with L.R. 7-10
10    as to its anticipated reply paper.2 See Exhibit 1. Thereafter, on the same date,
11    Plaintiff’s counsel responded acknowledging Defendant’s objection and stating that
12    it “will be noted in the motion for extension of time to respond.” See Exhibit 1.
13          The aforementioned email exchange between Defendant’s counsel and
14    Plaintiff’s counsel is the extent of Plaintiff’s efforts to inform Defendant of this
15    Motion for Extension. However, for the reasons that follow, Plaintiff’s alleged L.R.
16    7-3 conference was procedurally deficient, deficient in substance, and untimely.
17    Accordingly, Plaintiff’s email exchange does not constitute a proper L.R. 7-3
18    conference and this Court should decline to consider Plaintiff’s Motion for
19
      Extension as a result.
20                1.     Plaintiff’s alleged L.R. 7-3 conference is procedurally
                         deficient.
21
            This Court’s Standing Order provides that all 7-3 conferences shall be
22
      conducted by lead counsel and that “letters and e-mail do not constitute a proper 7-
23
24
25
      2
       Pursuant to L.R. 7‐10, Defendant’s deadline to file its reply is 14 days before the
      date designated for the hearing of the Motion to Dismiss, which is currently set for
26    February 7, 2022. Therefore, Defendant’s last day to file a reply to any response
27    Plaintiff may file is January 24, 2022. Plaintiff’s requested extension to January 28,
      2022, conflicts with Defendant’s compliance with the Court’s Local Rules as to its
28    anticipated Reply paper.
                                                  5   Response In Opposition of Plaintiff’s Motion
                                                                For Extension of Time to Respond
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 1    3 conference.” See Standing Order (Doc. No. 17) Paragraph 5(b), Lines 5-9.
 2    Plaintiff’s lead trial counsel is Nicholas M. Wajda. See Declaration of Lead Trial
 3    Counsel (Doc. No. 25). However, the emails from Plaintiff’s counsel on January
 4    18, 2022 were initiated by and from Victor Metroff. See Exhibit 1. Defendant
 5    acknowledges that Nicholas M. Wajda was copied on those emails however all
 6    emails were penned by Victor Metroff and Defendant’s counsel addressed all emails
 7    to Victor Metroff. Thus, Plaintiff’s alleged 7-3 conference was not conducted by
 8    Plaintiff’s lead trial counsel as required.
 9          Moreover, all communication between Plaintiff’s counsel and Defendant’s
10    counsel related to the alleged 7-3 conference for the Motion for Extension took
11    place via email. At no point on January 18, 2022 did Plaintiff’s counsel invite,
12    initiate, or request to speak with Defendant’s counsel by video or telephone to
13    discuss the Motion for Extension. As Plaintiff’s alleged 7-3 conference took place
14    exclusively over email, it does not constitute a proper 7-3 conference.
15                 2.     Plaintiff’s alleged L.R. 7-3 conference is untimely.
16          The L.R. 7-3 conference “shall take place at least seven (7) days prior to the
17    filing of the motion.” Plaintiff’s counsel first emailed Defendant’s counsel about
18    the anticipated Motion for Extension on January 18, 2022. See Exhibit 1. On the
19
      same date, Plaintiff filed her Motion for Extension. See Plaintiff’s Motion for
20
      Extension of Time to Response (Doc. No. 27). Accordingly, Plaintiff’s alleged L.R.
21
      7-3 conference is untimely.
22                3.     Plaintiff’s alleged L.R. 7-3 conference is deficient in
                         substance
23
24
            During a proper L.R. 7-3 conference, the substance of the contemplated

25
      motion and any potential resolution should be discussed thoroughly. L.R. 7-3;

26
      Standing Order (Doc. No. 17) Paragraph 5(b). However, during the alleged L.R. 7-

27    3 conference email exchange, Plaintiff’s counsel did not even put Defendant’s

28    counsel on notice of its contemplated motion for extension of time until the third
                                                    6   Response In Opposition of Plaintiff’s Motion
                                                                  For Extension of Time to Respond
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 1    and last email exchanged on January 18, 2022. See Exhibit 1. This fact alone
 2    should be sufficient evidence that Plaintiff’s counsel did not intend for the email
 3    exchange on January 18, 2022 to constitute a proper L.R. 7-3 conference.
 4          Moreover, the substance and reasoning in the Motion for Extension are new
 5    to Defendant – as no reasoning was previously provided to Defendant or substance
 6    discussed during the alleged L.R. 7-3 conference. It follows that no potential
 7    resolution was discussed either. Given that the contemplated motion was not
 8    mentioned until the last email, no substance of any contemplated motion was
 9    discussed, and no potential resolution considered, the email exchange on January
10    18, 2022 does not constitute a proper L.R. 7-3 conference. As the requirements of
11    L.R. 7-3 were not met in regards to the Motion for Extension, pursuant to L.R. 7-4,
12    this Court should decline to consider the Motion for Extension.
13
      II.   CONCLUSION
14
15
            Defendant understands that things happens and routinely exercises the

16    professional courtesies necessary to this industry. However, both Parties are subject

17    to local rules, procedural rules, and standing rules and it is evident from the pleadings

18    that it is Plaintiff’s failure to participate that is driving procedural delays and

19    burdening Defendant with unnecessary attorneys’ fees in managing those delays. At
20    the onset of this case, Plaintiff was aware of Defendant’s anticipated Motion to
21    Dismiss. Defendant conducted a proper L.R. 7-3 conference with Plaintiff and held
22    off on the motion so that Plaintiff’s counsel could confer with Plaintiff as to amending
23    the Complaint. Due to Plaintiff’s non-participation in her own case, Plaintiff’s
24    counsel told Defendant to file the Motion to Dismiss. With both parties being well
25    aware of the filing deadline, Defendant followed all local and standing rules in
26    properly filing and noticing its Motion to Dismiss.
27          Now, Plaintiff wishes to again delay the Motion to Dismiss through a Motion
28    for Extension based on an alleged interest in filing a motion to amend (which has yet
                                                  7   Response In Opposition of Plaintiff’s Motion
                                                                For Extension of Time to Respond
                                                                 Case No. 2:21-cv-08601-JFW-JC
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 1    to be filed) rather than justifications for a delay in responding to the Motion to Dismiss
 2    before the Court. Defendant’s Motion to Dismiss is valid on its face, was properly
 3    noticed, and needs to be addressed by this Court. Plaintiff should not be permitted to
 4    disregard the deadlines associated with the Motion to Dismiss simply because she
 5    wants the Court to disregard the Motion and instead address a motion to amend that
 6    has not been filed. Plaintiff’s response paper to Defendant’s Motion to Dismiss is
 7    untimely and therefore the Motion to Dismiss should be granted.
 8
 9
             RESPECTFULLY SUBMITTED this 21st day of January 2022.
10
                          CARPENTER, HAZLEWOOD, DELGADO & BOLEN, LLP
11
                                 By:    /s/ Michelle B. Wellnitz
12
                                        Michelle B. Wellnitz, Esq.
13                                      1400 E. Southern Avenue, Suite 400
                                        Tempe, Arizona 85282
14                                      Attorneys for Defendant I.Q. Data International, Inc.
15
16                               CERTIFICATE OF SERVICE
17          I hereby certify that on January 21, 2022 I electronically transmitted the
18    attached document to the Clerk’s Office using the CM/ECF System for filing and
19    transmittal of a Notice of Electronic Filing to the following registrants:
20
21          Nicholas M. Wajda
            Wajda Law Group, APC
22
            6167 Bristol Parkway
23          Suite 200
24          Culver City, California 90230
            Attorneys for the Plaintiff
25
26
      By: /s/ Theresa Laubenthal
27
28
                                                   8   Response In Opposition of Plaintiff’s Motion
                                                                 For Extension of Time to Respond
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